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12
                                      UNITED STATES DISTRICT COURT
13
                                NORTHERN DISTRICT OF CALIFORNIA
14

15
     SHANNON IRELAND-GORDY and                        Case No. 3:23-CV-04119-RFL
16   STEPHANIE IRELAND GORDY,
     individually and on behalf of all others         STIPULATION AND [PROPOSED]
17   similarly situated,                              ORDER SETTING BRIEFING
                                                      SCHEDULE AND CONTINUING
18                      Plaintiffs,                   INITIAL CASE MANAGEMENT
                                                      CONFERENCE
19          v.
                                                      Date Action Filed: 08/14/2023
20   TILE, INC., LIFE360, INC., and
     AMAZON.COM, INC.,
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                        Defendants.
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                                                                  STIPULATION AND [PROPOSED] ORDER
                                                                         SETTING BRIEFING SCHEDULE
                                                                                CASE NO. 3:23-CV04119
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 1                                            STIPULATION

 2          Pursuant to Civil Local Rules 6-2 and 7-12, Plaintiffs Shannon Ireland-Gordy and Stephanie

 3   Ireland Gordy (“Plaintiffs”) and Defendants Tile, Inc. (“Tile”), Life360, Inc. (“Life360”), and

 4   Amazon.com, Inc. (“Amazon”) (collectively, “the Parties”), by and through their respective

 5   counsel, hereby agree and stipulate that good cause exists to request an order from the Court setting

 6   Plaintiffs’ deadline to amend their complaint, setting a briefing schedule for Defendants’

 7   anticipated motions in response, and continuing the Initial Case Management Conference, as set

 8   out below.

 9          WHEREAS, on August 14, 2023, Plaintiffs filed a putative class action lawsuit against

10   Life360, Tile, and Amazon (ECF No. 1, the “Complaint”);

11          WHEREAS, the Parties previously stipulated and the Court ordered that Defendants’

12   deadline to respond to the Complaint be vacated to allow the Parties to attempt early, private

13   mediation (ECF 26);

14          WHEREAS, the Parties previously stipulated and the Court ordered that if mediation was

15   unsuccessful, the Parties would submit an agreed-upon schedule for the case, if such agreement

16   could be reached (ECF No. 26);

17          WHEREAS, per the Parties’ stipulation, the Court continued the Initial CMC to March 13,

18   2024 (ECF No. 26);

19          WHEREAS, the Parties participated in private mediation on January 25, 2024 but did not

20   reach a mutually-agreeable resolution of Plaintiffs’ claims and therefore submit this jointly

21   proposed schedule;

22          WHEREAS, Plaintiffs plan to amend their Complaint (the “Amended Complaint”);

23          WHEREAS, in a case involving similar claims brought by counsel for Plaintiffs, Hughes

24   et. al., v. Apple, Inc., 3:22-cv-07668-VC (“Hughes”), the defendant has filed a motion to dismiss,

25   which was briefed and heard, and is awaiting decision by a different department of this Court (the

26   “Hughes Order”);

27          WHEREAS, Plaintiffs believe there is significant efficiency to be gained by waiting for the

28   Hughes Order before amending their Complaint in this action, so that such amendment can reflect
                                                                        STIPULATION AND [PROPOSED] ORDER
                                                      2                        SETTING BRIEFING SCHEDULE
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 1   the guidance provided in that order;

 2          WHEREAS, the Parties agree that the deadline for Plaintiffs to amend their Complaint

 3   should therefore be set to follow the issuance of the Hughes Order; and

 4          WHEREAS, the Parties also agree that it will save substantial Party and Court resources to,

 5   thereafter, resolve any motion to compel arbitration that Defendants may file (a “Motion to Compel

 6   Arbitration”) based on the Amended Complaint before briefing any motions to dismiss on other

 7   grounds, given that a Motion to Compel Arbitration may obviate the need for such other motions

 8   to dismiss, if granted.

 9          NOW THEREFORE, the Parties, by and through their respective undersigned counsel,

10   hereby stipulate and agree that:

11          1.       Plaintiffs’ deadline to amend their Complaint is six weeks from the date of the

12   Hughes Order.

13          2.       Defendants’ deadline to respond to the Amended Complaint, whether by filing a

14   Motion to Compel Arbitration, filing a motion to dismiss, or otherwise, whatever Defendants elect

15   (the “Initial Motion”), is six weeks from the date of the Amended Complaint.

16          3.       Plaintiffs’ deadline to file any opposition to the Initial Motion (the “Opposition”) is

17   four weeks from the date the Initial Motion is due.

18          4.       Defendants’ deadline to file any reply to the Opposition is three weeks from date

19   the Opposition is due.

20          5.       The Parties will confer and follow the Court’s procedure for noticing a hearing date

21   for the Initial Motion.

22          6.       If the Defendants’ Initial Motion is a Motion to Compel Arbitration, then the

23   Defendants will not concurrently be required to file a motion to dismiss the Amended Complaint

24   on other bases. In this event, the Defendants’ deadline to respond to the Amended Complaint,

25   including to move to dismiss on any basis other than arbitrability, such as under Rule 12(b), will

26   be four weeks after any order denying (or granting only in part) the Motion to Compel Arbitration

27   in a manner that allows the action to move forward in this Court.

28          7.       The Initial CMC is hereby continued and will be reset to coincide with the hearing
                                                                          STIPULATION AND [PROPOSED] ORDER
                                                        3                        SETTING BRIEFING SCHEDULE
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 1   on the Initial Motion or at another date convenient for the Court (the “Continued Initial CMC”).

 2          8.      The Parties’ various, interim deadlines that are dependent on the date of the Initial

 3   Case Management Conference (e.g., deadlines to file a joint CMC statement, exchange initial

 4   disclosures, etc.) shall be reset based on the date of the Continued Initial CMC.

 5          IT IS SO STIPULATED.

 6

 7   Dated: February 27, 2024                             COOLEY LLP
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 9                                                        By: /s/ Jeffrey M. Gutkin
                                                              Jeffrey M. Gutkin
10
                                                          Attorneys for Defendants
11                                                        Tile, Inc. and Life360, Inc.
12

13   Dated: February 27, 2024                             MILSTEIN JACKSON FAIRCHILD &
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22                                                            Gordy and Stephanie Ireland Gordy

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                                                                          STIPULATION AND [PROPOSED] ORDER
                                                      4                          SETTING BRIEFING SCHEDULE
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 1   Dated: February 27, 2024                             PERKINS COIE LLP

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                                                              Inc.
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                                                    ***
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12                                            ATTESTATION

13          Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, I, Jeffrey M. Gutkin, hereby

14   attest that concurrence in the filing of this document has been obtained.

15   Dated: February 27, 2024                                /s/ Jeffrey M. Gutkin
                                                            Jeffrey M. Gutkin
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18                                                  ***

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20                                        [PROPOSED] ORDER
21          PURSUANT TO STIPULATION, IT IS SO ORDERED.

22

23   Dated: ______________, 2024                          ____________________________________
                                                                   HON. RITA F. LIN
24                                                          UNITED STATES DISTRICT JUDGE
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                                                                         STIPULATION AND [PROPOSED] ORDER
                                                      5                         SETTING BRIEFING SCHEDULE
                                                                                       CASE NO. 3:23-CV04119
